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                             EXHIBIT A
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               Everingham & Kerr, Inc.
              Merger & Acquisition Advisors focused on the lower Middle Market

              1300 Roule 73, Suite I 03
              Mount laurel, NJ 08054
              (856) 5 4 6.6655, Fax: (856) 5 4 6.2806
              www everkerr.com


                                                ENGAGEMENT LETTER
    This letter confirms the agreement between Everingham and Kerr, Inc, (the "Consultant")
    and Caswell Holding Co,, Inc., Harry Caswell Inc. and the related hardware store
    (collectively the "Company"), and its owners, shareholders, members and/or affiliates
    (collectively the "Client"), The Client agrees to retain Consultant as intermediary and
    exclusive representative in connection with (i) the sale of the Client's stock or assets of the
    Company including an investment in the Company, the entering into a strategic alliance,
    licensing agreement, royalty agreement, joint venture or any other non-prior existing
    business relationship and may also be in the fonn of a merger, a refunding, a
    recapitalization or other corporate restructuring to any person or entity, including existing
    partners or shareholders, their heirs or assigns and employees or to an employee stock
    ownership plan and (ii) if connected to the sale of the Company and if commonly-owned,
    the sale or lease of the facilities (the "Facilities"); collectively (the "Transaction ").
    The Consultant agrees to assemble and assign a team that will make diligent and continued
    effo1ts to fac ilitate the Transaction. In conjunction with this engagement the Client
    authorizes the Consultant to take the following actions as deemed necessary:
     l. Prepare a summa1y document (the "Summary") to be used in the initial marketing
        phase. This Summary will be prepared in a confidential and blind format that gives a
        brief description of the business, and presents the Company in the best possible light in
        order to maximize the value to be realized by the Client.

    2. Prepare, with the assistance of the Client, a more complete descriptive Confidential
       Business Review (the "CBR") that will provide the information and data necessa1y for
       prospective buyers to have a su fficient understanding of the Company's operations,
       management and financial status in order to facilitate the sale process,

     3. Screen and select prospects utilizing the Consultant's proprietary database, in-house
        research capab ilities, as well as affiliated domestic and international networking
        organizations and will make initial contacts w ith prospects on a blind confidential basis.
        The Client agrees that during the term of this agreement any prospective purchaser or
        other third party approaching the Client directly concerning the possibility of a sale
        shall be referred to the Consultant. Those prospects expressing preliminary interest
        shall be required to execute a Confidentiality Agreement. Once interested prospects
        have executed and returned the Confidentiality Agreements the Consultant shall send
        the CBR to the prospects. Recipients of the CBR will be asked to determine their
        degree of interest in acqui1ing the Company. If there is no further interest the
        Consultant shall request that the CBR be returned or destroyed. Interested prospects
        shall be asked to advise the Consultant of their interest including a preliminary range of
        value, the anticipated transaction structure, and a suggested time frame for c losing a
        transaction. From those expressing interest, a small number will be invited to meet the
        Client and tour the facilities, Proposals w ill be requested from those prospects making
        the visit, following which the Company's buyer (the "Buyer") shall be selected,



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         4. Advise the Client as to structure, and assist Client with final negotiations including
            facilitating and coordinating due diligence, legal documentation and environmental
            audits to expedite the successful consummation of the Transaction. The Consultant
            shall not provide spec ific professional legal, tax, or accounting services which shall be
            procured by the Client at the Client's sole cost and expense. The Client acknowledges
            that the Consultant may, in conjunction with its performance in this agreement, at the
            Consultant's sole cost and expense, utilize the services of companies with which the
            Consultant has an affiliation.

         U pon execution of this Agreement, C lient agrees to pay an engagement fee (the
         "Engagement Fee") of $ I 5,000 for the preparation of the CBR and development of the
         marketing strategy. Reimbursement of certain out-of-pocket travel expenses may be
         requested by the Consultant. If any such expenses are anticipated, they w ill be submitted in
         advance for pre-approval by the Client.
         In the event that a Transaction is consummated during the term of this agreement, the Client
         agrees to pay a success fee (the "Success Fee") of $ 100,000 plus 3% of the Total
         Consideration for the Company and/or for the sale or the lease of the Facilities. This fee
         will be applicable to all forms of Transactions. Also, if the sale of the Company is divided
         into multiple business units, and separate Transactions are consummated w ith different
         Buyers, the Success Fee shall be calculated separately for each Transaction.             The
         Engagement Fee w ill be credited towards the Success Fee
         The term "Total Consid erat ion" shall mean all value paid (whether in the form of cash or
         notes) or exchanged by the Buyer in connection w ith the investment in or acquisition of
         control (or any part thereof o r interest therein) of the Company and/or the sale or lease of
         the Facilities. Total Consid eration shall include, but not be limited to non-competes,
         assumed liabilities, employment and/or consulting agreements in excess of fair market
         rates, assets retained by the C lient (including, but not limited to nom1al course of business
         working capital, accounts receivable and inventory) or any other non-contingent acquisition
         payment mechanisms, agreed between the Buyer and Client. It is agreed that, if an earn-
         out, royalty, licensing or other contingent payment method is part of the Transaction;
         Consultant w ill receive the Success Fee applicable to this portion of the purchase price as
         such contingent payment is earned and paid. The non-contingent portion of the Success
         Fee shall be calculated as of, and paid at the time of closing of the Transaction .
         The obligation to pay the Consultant 's Success Fee rests with all persons or entities that
         comprise the C lient. In the event that the Client fa ils to pay any monies owed under the
         terms of this agreement when due, interest shall beg in to accrue on the amount due at
         twelve percent (12%) per annum. If it becomes necessary for the Consultant to commence
         a lawsuit to collect any mo nies owed under the terms of this agreement, the C lient shall be
         responsible for payment of the Consultant's costs of collection, including reasonable
         attorney's fees. In the event that any Buyer deposits are forfeited, the Client and Consultant
         shall split the fo1feited deposits o n a 50/50 bas is.
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         The term of this agreement shall be twelve ( 12) months from the date of signing, with
         automatic six (6) month renewals until the transaction for the Company is concluded. The
         Client may terminate this agreement by providing written notice to Consultant not less than
         thirty (30) days prior to the expiration of the initial twelve (12) month term or any of the
         subsequent six (6) month renewals as applicable. However, if a Transaction takes place
         within twenty-four (24) months of the termination of this agreement to any buyer who was
         contacted by the Consultant and/or any existing partners or shareholders, their heirs or
         assigns and employees or to an employee stock ownership plan, or to any parties that the
         Client excluded the Consultant from contacting, the Consultant shall be entitled to the
         above Success Fee.
         The Client agrees to indemnify and hold harmless the Consultant and its officers, directors,
         employees, agents, attorneys and affiliates against any liability, claim or expense, including
         attorneys' fees, arising out of or in co1rnect ion with this Agreement except to the extent
         attributable to the gross negligence or w illful misconduct of the Consultant.
         The und ersigned represents the legal authority to enter into this agreement on behalf of the
         Company, its shareholders, and the owner(s) of the Facilities.
         This Agreement shall be interpreted under and governed by the laws of the State of
         Delaware. Each party agrees that any controversy, dispute, or claim between the parties
         arising out of or in connection with this Agreement shall be brought in the courts of the
         State of Delaware.
         Notwithstanding any prov ision of this Agreement , it is understood and agreed that the
         Client shall have the sole and absolute right to accept or reject any offer received from a
         prospective Buye r of the Company including but not limited to the price and other tenns
         and concl it ions thereof, and that no Success Fee shall be payable to the Consultant unless a
         Transaction is concluded during the term of this Agreement or within twenty-four (24)
         months thereafter as contemplated above.


         Accepted:
         CLIENT:                                       CONSULTAN~


         By: ~ ~                 Date: / - J:l-<7,3-      ·        ti;   "'"rf,i;anuary 12, 2022
            Harry Caswell                                  oseph A. Vanore, Jr. , President
            For the Company                               For the Consultant


         By:       i~             D ate: J- /1-,3-if
               Harry Caswell, Individually
